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                Exhibit J
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                               The Commonwealth of Massachusetts
                               Executive Office of Health and Human Services
                                        Department of Public Health
                               250 Washington Street, Boston, MA 02108-4619

CHARLES D. BAKER                                                                                    MARYLOU SUDDERS
      Governor                                                                                           Secretary

KARYN E. POLITO                                                                                    MONICA BHAREL, MD,
 Lieutenant Governor                                                                                 MPH Commissioner

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                           GUIDANCE OF THE COMMISSIONER OF PUBLIC HEALTH
                           REGARDING OPERATION OF NURSERIES, GREENHOUSES,
                           GARDEN CENTERS, AND AGRICULTURAL SUPPLY STORES
                                UNDER THE ESSENTIAL SERVICES ORDER


               On March 23, 2020, the Governor issued an Order Assuring Continued Operation of
        Essential Services in the Commonwealth. On March 31 and April 28, 2020, the Governor
        extended that Order and updated the list of “COVID-19 Essential Services.” The Order directed
        the Commissioner of Public Health to issue binding guidance to implement the Order.

                 The Order designated nurseries, greenhouses, garden centers, and agriculture supply
        stores are as COVID-19 Essential Services. These businesses therefore may continue to operate
        their brick-and-mortar premises and remain open to the public subject to the limitations specified
        below. Additionally, workers supporting nurseries, greenhouses, garden centers, and agriculture
        supply stores are deemed included within the COVID-19 Essential Workforce for purposes
        approved in this guidance.

                This guidance does not apply to retail businesses subject to my March 25, 2020 Orders
        directed to grocery stores and pharmacies.

             1) Nurseries, greenhouses, garden centers, and agriculture supply stores that sell food or
                food producing plants for human consumption may continue to operate their brick and
                mortar premises; provided, however, that a nursery, greenhouse, garden center or
                agriculture supply store that sells solely plants that do not produce food for human
                consumption shall remain closed.

             2) Nurseries, greenhouses, garden centers, and agriculture supply stores that remain open for
                business must deploy strategies to reduce COVID-19 exposure for their customers and
                employees including but not limited to:

                       •    Access to handwashing facilities, including those available in public restrooms,
                            and allowing employees sufficient break time to wash hands, as necessary.
                       •    Alcohol-based hand sanitizers, as available.
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           •   Disinfecting wipes, as available, at point of entrance for customers to disinfect
               carts, at cash registers and/or other appropriate locations.
           •   Procedures to ensure that both employees and customers remain at least six feet
               apart at all times. Procedures should include a marked “Social Distancing Line,”
               which begins six feet away from all checkout counters.
           •   Procedures to sanitize frequent touchpoints throughout the day, including point of
               sale terminals at registers.
           •   Employees who are sick should not report to work and if, when reporting to work,
               they have symptoms of COVID-19 they must be sent home.
           •   Adoption of remote sales methods for some transactions, including phone orders,
               online sales, delivery, and email-based transactions.
           •   Offering of on-site pick-up options such as “curbside” product drops in parking
               lots in which materials are loaded into customers’ trunks, truck beds or cargo
               areas. In no circumstances may an employee place any product into the cab or
               passenger area of a customer’s vehicle.

   3) Nurseries, greenhouses, garden centers, and agriculture supply stores must accommodate
      employees who fall within the higher-risk populations, as defined by the CDC guidelines,
      with lower-exposure work assignments or by allowing them to stay home.

   4) Nurseries, greenhouses, garden centers, and agriculture supply stores shall be closed to
      the public for a sufficient time each evening to allow for stores to be properly sanitized.

   5) Nursery, greenhouse, garden center, and agriculture supply store employees shall not
      perform bagging of products if reusable checkout bags are used and customers shall not
      use reusable checkout bags until further notice.

   6) Nurseries, greenhouses, garden centers, and agriculture supply stores, including those
      currently subject to municipal ordinances or regulations banning single-use plastic bags,
      may choose to use recyclable paper bags, compostable plastic bags or single-use plastic
      bags.

   7) Nurseries, greenhouses, garden centers, and agriculture supply stores may not assess a
      charge for recyclable paper bags, compostable plastic bags or single-use plastic bags.

This Guidance shall be effective immediately and shall remain in effect until the State of
Emergency is terminated by the Governor.



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                                             Monica Bharel, MD, MPH
                                             Commissioner, Massachusetts Department of
                                             Public Health
                                             April 28, 2020
